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                   Exhibit 1
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                   Exhibit Ś
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                        Registration #:    PA0002280030
                     Service Request #:    1-10156210289




Mail Certificate


Perkins Coie LLP
Patchen M. Haggerty
P.O. Box 2608
Seattle, WA 98111 United States




                              Priority: Special Handling                Application Date: February 10, 2021
Note to C.O.: Copyright application is for the multimedia elements of a videogame. Deposit materials include a written
synopsis of the videogame, sound recordings, a video of gameplay, and a series of pictorial images to represent the
audiovisual elements. The artwork in the deposit is collective as a whole of the videogame.


Correspondent



                  Organization Name:       Perkins Coie LLP
                               Name:       Patchen M. Haggerty
                               Email:      pctrademarks@perkinscoie.com
                          Telephone:       (206)359-8000
                                Fax:       (206)359-9000
                             Address:      1201 Third Avenue, Suite 4900
                                           Seattle, WA 98101 United States
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                                                                                    Registration Number
                                                                                    PA 2-280-030
                                                                                    Effective Date of Registration:
                                                                                    February 10, 2021
                                                                                    Registration Decision Date:
                                                                                    March 05, 2021




    Title
                         Title of Work:     Destiny 2: Beyond Light


    Completion/Publication
                   Year of Completion:      2020
                Date of 1st Publication:    November 10, 2020
               Nation of 1st Publication:   United States

    Author

                     •       Author:        Bungie, Inc.
                      Author Created:       audiovisual material including music and sounds
                   Work made for hire:      Yes
                           Citizen of:      United States

                     •       Author:        Activision Publishing, Inc.
                      Author Created:       contributions to audiovisual material
                   Work made for hire:      Yes
                           Citizen of:      United States

    Copyright Claimant

                   Copyright Claimant:      Bungie, Inc.
                                            550 106th Ave NE, Suite 207, Bellevue, WA, 98004, United States
                    Transfer statement:     By written agreement
1
    Limitation of copyright claim

      Material excluded from this claim:    preexisting audiovisual material, music compositions and sound recordings from
                                            previous versions of "Destiny 2" videogame

        New material included in claim:     audiovisual material including musical compositions and sounds
1
     Rights and Permissions
                                                                                                                Page 1 of 2
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             Organization Name:     Bungie Legal Department, Bungie, Inc.
                          Email:    legal@bungie.com
                        Address:    550 106th Ave NE
                                    Suite 207
                                    Bellevue, WA 98004 United States

Certification

                           Name:    Patchen M. Haggerty
                            Date:   February 10, 2021
    Applicant's Tracking Number:    139303-6000.US04
                            Date:   February 10, 2021
                                    Approved
                Correspondence:     Yes




                                                                            Page 2 of 2
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                   Exhibit ś
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                   Exhibit Ŝ
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                                DESTINY 2       SEASONS        COMMUNITY         HELP     STORE                 PLAY DESTINY 2             MY ACCOUNT
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                              For all purposes, this English language version of this Agreement shall be the original, governing instrument and
  SLA
                              understanding of the parties. In the event of any conflict between this English language version of the Agreement and
                              any subsequent translation into any other language, this English language version shall govern and control.
  PRIVA
     V CY
  POLICY                      IMPORTANT
                                   T    NOTICE FOR RESIDENTS IN NORTH AMERICA ONLY
                                                                                L : THIS AGREEMENT IS SUBJECT TO BINDING
                              ARBITRATION
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                              AND A W
                                    WAIVER OF CLASS ACTION RIGHTS AS DET
                                                                       TAILED BELOW.
  COOKIE                      SOFTWARE
                                  W    LICENSE AGREEMENT
  POLICY
                              USE OF THIS SOFTWARE
                                              W    PROGRAM (AND ANY PATCHES AND UPDA
                                                                                   ATES), INCLUDING BUT NOT LIMITED TO
                              ANY TITLES, COMPUTER CODE, THEMES, OBJECTS, CHARACTERS, CHARACTER NAMES, STORIES, DIALOG,
  CODE                        CATCH
                               A    PHRASES, LOCATIONS,
                                                A       CONCEPTS, ARTWORK, ANIMATION,
                                                                               A      SOUNDS, MUSICAL COMPOSITIONS,
                              AUDIO-VISUAL EFFECTS, METHODS OF OPERATION,
                                                                   A      MORAL RIGHTS AND ANY RELA
                                                                                                  ATED DOCUMENT
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                              INCORPORATED
                                      A    INTO THIS SOFTWARE
                                                         W    PROGRAM, THE ASSOCIATED
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  LICENSES
                              ONLINE OR ELECTRONIC DOCUMENTA
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                                                                            LY, THE “PROGRAM”) IS SUBJECT TO THIS
                              SOFTWARE
                                  W    LICENSE AGREEMENT (THIS “AGREEMENT”). IF YOU ARE UNDER THE AGE OF MAJORITY IN
                              YOUR JURISDICTION OR EIGHTEEN (18) YEARS OF AGE, WHICHEVER IS OLDER, PLEASE ASK YOUR P
                                                                                                                   PARENT
  INTELLECTUAL
                              OR GUARDIAN TO READ AND ACCEPT THIS AGREEMENT ON YOUR BEHALF BEFORE YOU USE THE
  PROPERTY &
                              PROGRAM. BY OPENING THIS P
                                                       PACKAGE, DOWNLOADING, INST
                                                                                TALLING, AND/OR USING THE PROGRAM, YOU
  TRADEMARKS
                              ACCEPT THE TERMS OF THIS AGREEMENT BETWEEN YOU AND BUNGIE, INC. (“BUNGIE”). IF YOU DO NOT
                              AGREE TO THE TERMS OF THIS AGREEMENT,
                                                                 T YOU ARE NOT PERMITTED TO INSTALL,
                                                                                               T     COPY
                                                                                                        Y, OR USE THE
                              PROGRAM. IF YOU WISH TO REJECT THE TERMS OF THIS AGREEMENT,
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                              BUNGIE’S PRIVACY
                                          V    POLICY AVAILABLE AT http://www.bungie.net/en/View/bungie/privacy SHALL BE DEEMED TO
                              BE P
                                 PART OF THE “AGREEMENT” ACCEPTED AND AGREED TO BY YOU AND THE TERMS OF SUCH ARE
                              INCORPORATED
                                      A    HEREIN BY REFERENCE.


                              FOR RESIDENTS OUTSIDE NORTH AMERICA: IF YOU (OR, IF APPLICABLE, YOUR P
                                                                                                   PARENT OR GUARDIAN) DO
                              NOT AGREE TO THIS AGREEMENT,
                                                        T THEN YOU MUST NOT USE OR ACCESS THE PROGRAM OR ANY PART
                              THEREOF. BY “CLICKING TO ACCEPT,”
                                                            T YOU REPRESENT AND WARRANT THA
                                                                                          AT YOU ARE A “NA
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                              PERSON” WHO IS OVER THE AGE OF EIGHTEEN (18) OR WHOSE LEGAL GUARDIAN HAS ACCEPTED AND
                              AGREED TO THIS AGREEMENT. IF YOU REJECT THIS AGREEMENT,
                                                                                   T YOUR RETURN RIGHTS IN RELA
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                              THE PROGRAM ARE GOVERNED BY YOUR STA
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                              PROGRAM. NOTHING IN THIS P
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                                DESTINY 2       SEASONS        COMMUNITY         HELP     STORE                 PLAY DESTINY 2             MY ACCOUNT
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                              OR USE ADDITIONAL GAME FEATURES.
                                                       A       PLEASE REVIEW THE ADDITIONAL TERMS OF SERVICE
                                                                                                       R     AT
                              http://www.bungie.net/en/View/Bungie/terms BEFORE INSTALLING
                                                                                   T       OR USING THE PROGRAM.


                              LIMITED USE LICENSE: Bungie grants you the non-exclusive, personal, non-transferable, limited right and license to
                              install and use one copy of this Program solely for your non-commercial use. All rights not specifically granted are
                              reserved by Bungie. The Program is licensed, not sold, for your use. Your
                                                                                                   Y    license confers no title or ownership in this
                              Program, and should not be construed as a sale of any rights in this Program. This Agreement shall also apply to
                              patches or updates you may obtain for the Program, unless that patch or update is accompanied by additional terms as
                              provided in the section regarding “Changes to the Agreement” below.


                              LICENSE CONDITIONS: This license is subject to the following limitations ("License Limitations"). Any use of the
                              Program in violation of the License Limitations will result in an immediate termination of your license, and continued use
                              of the Program will be an infringement of Bungie’s copyrights in and to the Program. You
                                                                                                                   Y agree that you will not do, or
                              allow, any of the following: (1) exploit this Program or any of its parts commercially; (2) use this Program on more than
                              one computer/console at the same time; (3) copy, reproduce, distribute, display or use any part of this Program except
                              as expressly authorized by Bungie herein; (4) copy this Program onto a hard drive or other storage device unless the
                              Program itself makes a copy during installation, or unless you are downloading this Program from an authorized Bungie
                              online reseller; (5) use the Program in a network, multi-user arrangement, or remote access arrangement, including any
                              online use except as included in the Program functionality; (6) sell, rent, lease, license, distribute, or otherwise transfer
                              this Program or any copies thereof; (7) reverse engineer, derive source code, modify, decompile, disassemble, or create
                              derivative works of this Program, in whole or in part; (8) hack or modify the Program, or create, develop, modify,
                              distribute, or use any unauthorized software programs to gain advantage in any online or multiplayer game modes; (9)
                              receive or provide “boosting services,” to advance progress or achieve results that are not solely based on the account
                              holder’s gameplay, (10) remove, disable, or circumvent any proprietary notices or labels contained on or within the
                              Program; (11) export or re-export this Program in violation of any applicable laws or regulations of the United States
                              government. VIOLATION
                                              A     OF THESE LICENSE CONDITIONS BY YOU OR ANY THIRD PARTY USING YOUR
                              ACCOUNT MAY
                                       A RESUL
                                             LT IN A SUSPENSION OR BAN, IN ADDITION TO ALL OTHER REMEDIES A
                                                                                                          AV
                                                                                                           VAILABLE TO
                              BUNGIE.


                              LIVE AND TIME-LIMITED GAME ELEMENTS: Y
                                                                   Your use of the Program involves interaction with Bungie’s live game
                              environment. The Program and its live game environment change over time. Bungie does not guarantee that you will be
                              able to participate in all events or earn all in-game achievements. Access to some Live Content may require additional
                              purchase. Some in-game elements, including without limitation, Live Content associated with season passes, are made
                              available to players for a limited time. Where season pass Live Content is time-limited, Bungie will use reasonable
                              efforts
                               f      to communicate this to you within the Program or otherwise. Bungie may extend the time-limit for Live Content,
                              including season passes, at its option with or without advanced notice. Fees charged for time-limited content are based
                              on access to the applicable content during the time period indicated at the time of purchase, and apply whether or not
                              you actually access the content. Season pass rewards earned during a given season must be redeemed during that
                              season, unless Bungie elects to provide a grace period for redemption in its sole discretion.


                              OWNERSHIP: All title, ownership rights, and intellectual property rights in and to the Program and any copies thereof
                              are owned by Bungie. This Program is protected by the copyright laws of the United States, international copyright
                              treaties, and conventions and other laws. This Program contains certain licensed materials, and Bungie’s licensors may
                              protect their rights in the event of any violation of this Agreement.


                              PATCHES AND UPDA
                              PA             ATES: Bungie may deploy or provide patches, updates, and modifications to the Program that
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                                DESTINY 2       SEASONS        COMMUNITY         HELP     STORE                 PLAY DESTINY 2             MY ACCOUNT
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                              and workmanship for 90 days from the date of purchase. If the Goods are found defective within 90 days of original
                              purchase, Bungie agrees to replace, free of charge, any such defective Goods within such period, upon its receipt of the
                              Program (postage paid, with proof of the date of purchase) so long as the Goods are still being manufactured by Bungie.
                              If the Goods are no longer available, Bungie retains the right to substitute similar goods of equal or greater value. This
                              warranty is limited to the Goods, as originally provided by Bungie, and is not applicable to normal wear and tear. This
                              warranty shall not be applicable, and shall be void, if the defect has arisen through abuse, mistreatment, or neglect. Any
                              implied warranties prescribed by statute are expressly limited to the 90-day period described above. EXCEPT AS SET
                              FORTH HEREIN, THIS W
                                                 WARRANTY IS IN LIEU OF ALL OTHER WARRANTIES, EXPRESS OR IMPLIED.
                              For customers in EU and other countries: This warranty is provided without prejudice to your statutory rights as a
                              consumer which will always prevail. Bungie will only be responsible for any loss or damage you suffer
                                                                                                                               f that is a
                              foreseeable result of the breach of this Agreement by Bungie or its negligence. Nothing in this Agreement shall limit or
                              exclude our liability for death or personal injury resulting from negligence, fraudulent misrepresentation; or any other
                              liability that cannot be excluded or limited by English law. This section shall prevail over all other parts of this
                              Agreement.
                              LIMITA
                                  TATION ON DAMAGES: IN NO EVENT WILL BUNGIE BE LIABLE FOR SPECIAL, INCIDENT
                                                                                                           TAL, OR
                              CONSEQUENTIAL DAMAGES RESULTING
                                                        L     FROM POSSESSION, USE, OR MALFUNCTION OF THE PROGRAM,
                              INCLUDING DAMAGES TO PROPERTY,
                                                          Y LOSS OF GOODWILL, COMPUTER FAILURE OR MALFUNCTION AND, TO
                              THE EXTENT PERMITTED BY LAW
                                                       A , DAMAGES FOR PERSONAL INJURIES, EVEN IF BUNGIE HAS BEEN
                              ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. BUNGIE’S LIABILITY SHALL NOT EXCEED THE ACTUAL
                              PRICE P
                                    PAID FOR THE LICENSE TO USE THIS PROGRAM. SOME STA
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                                  TATIONS ON HOW LONG AN IMPLIED WARRANTY LASTS AND/OR THE EXCLUSION OR LIMIT
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                              DAMAGES, SO THE ABOVE LIMITA
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                              GIVES YOU SPECIFIC LEGAL RIGHTS, AND YOU MAY
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                              TO JURISDICTION.


                              TERMINATION:
                                    A      Without prejudice to any other rights of Bungie, this Agreement will terminate automatically if you fail to
                              comply with its terms and conditions. In such event, you must destroy all copies of this Program and all of its component
                              parts. Y
                                     You may also terminate the Agreement at any time by permanently deleting any installation of the Program, and
                              destroying all copies of the Program in your possession or control. Bungie may terminate this Agreement at any time for
                              any reason or no reason. In such event, you must destroy all copies of the Program and all of its component parts. The
                              License Limitations, limitation on damages, limited warranty, indemnity, and miscellaneous provisions shall survive
                              termination of this Agreement.


                              U.S. GOVERNMENT RESTRICTED RIGHTS: The Program has been developed entirely at private expense and are
                              provided as "Commercial Computer Software" or "restricted computer software." Use, duplication or disclosure by the
                              U.S. Government or a U.S. Government subcontractor is subject to the restrictions set forth in subparagraph (c)(1)(ii) of
                              the Rights in Technical
                                            T         Data and Computer Software clauses in DF
                                                                                             FARS 252.227-7013 or as set forth in subparagraph
                              (c)(1) and (2) of the Commercial Computer Software Restricted Rights clauses at FAR
                                                                                                              F   52.227-19, as applicable. The
                              Contractor/Manufacturer is Bungie, Inc., 550 106th Ave
                                                                                 A NE #207, Bellevue, Washington 98004.


                              INJUNCTION: Because Bungie would be irreparably damaged if the terms of this Agreement were not specifically
                              enforced, you agree that Bungie shall be entitled, without bond, other security, or proof of damages, to appropriate
                              equitable remedies with respect to breaches of this Agreement, in addition to such other remedies as Bungie may
                              otherwise have under applicable laws.


                              INDEMNITY: Y
                                         You agree to indemnify, defend, and hold Bungie, its partners, affiliates,
                                                                                                         f          licensors, contractors, offficers,
                              directors, employees, and agents harmless from all damages, losses and expenses arising directly or indirectly from
                              your breach of this Agreement and/or your acts and omissions in using the Program pursuant to the terms of this
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                                DESTINY 2       SEASONS        COMMUNITY         HELP     STORE                 PLAY DESTINY 2             MY ACCOUNT
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                              the terms and conditions of this Agreement, at any time and by any means, including, without limitation, (1) by posting
                              the modifications to http://bungie.net/sla; and/or (2) by requiring you to “click to accept” when Bungie upgrades or
                              patches the Program, and your continued use of the Program constitutes your acceptance of the modifications. The
                              changes to the Agreement will be effective
                                                                f        upon prior notice as follows: Bungie will post the revised version of this
                              Agreement on its website, may include the terms with a patch or update and require acceptance as part of the
                              installation process, or may provide such other notice as Bungie may elect in its sole discretion. If any future changes to
                              this Agreement are unacceptable to you or cause you to no longer be in compliance with this Agreement, you may
                              terminate this Agreement and receive a refund in accordance with this Agreement. Y
                                                                                                               Your installation and use of any of
                              Bungie’s updates, patches or modifications to the Program or your continued use of the Program following notice of
                              changes to this Agreement will demonstrate your acceptance of any and all such changes. If any future modifications
                              are implemented as a “click to accept” agreement, you may not be able to continue using the Program unless you
                              affirmatively
                               f            accept the modified Agreement.


                              LIVE CONTENT: “Live Content" consists of content provided to Program users (e.g., unlockable content, gear, live
                              events, activities, destinations, accounts, stats, virtual assets, virtual currencies, codes, and achievements) in
                              connection with use of the Program. While the Program may allow you to “earn”, "buy", or "purchase" Live Content
                              within or in connection with gameplay, you do not in fact own or have any property interest in the Live Content. Unless
                              otherwise specified in writing, any Live Content that you receive is licensed to you as set forth herein, and you shall have
                              no ownership right thereto. Unless specifically permitted by Bungie, you may not, sell, lend, rent, trade, or otherwise
                              transfer any Live Content. Live Content may be altered, removed, deleted, or discontinued by Bungie at any time (e.g.,
                              upon termination of this Agreement and/or cessation of online support for the Program), even if you have not “used” or
                              “consumed” the Live Content prior to alteration, removal, deletion, or discontinuation. Some Live Content, including
                              without limitation, activities, maps, and gear, may be made available to players for only a limited time. Live Content has
                              no monetary value and does not constitute property of any type.
                              Without limiting the above, Live Content may include virtual coins, points or other virtual currencies (“Virtual Currency”).
                              By purchasing or otherwise acquiring Virtual Currency, you obtain a limited license (which is revocable by Bungie at any
                              time unless otherwise required by applicable laws) to access and select from other Live Content. Virtual Currency has
                              no monetary value and does not constitute currency or property of any type. Virtual Currency may be redeemed for
                              other Live Content only, if at all. Virtual Currency cannot be sold or transferred, and cannot be exchanged for cash or for
                              any other goods and services, except for other Live Content, where applicable. Subject to applicable local law, Virtual
                              Currency is non-refundable. You
                                                          Y are not entitled to a refund or any other compensation such as Live Content for any
                              unused Virtual Currency and unused Virtual Currency is non-exchangeable.
                              There may be Live Content (should you choose to purchase it) which will require you to make a payment with real
                              money, the amount of which will be set out in the Program. Live Content purchases are non-refundable and you
                              acknowledge that this is the case and that you will have no right to change your mind and cancel (sometimes known as
                              a 'cooling off'
                                          f right) once your purchase is complete. Depending on your platform, any Live Content purchased, may be
                              purchased from your platform provider and such purchase will be subject to your platform provider’s T
                                                                                                                                  Terms of Service
                              and User Agreement. Please check usage rights for each purchase as these may differ
                                                                                                             f from item to item. Unless
                              otherwise shown, content available in any game store has the same age rating as the game.


                              For SIEA users: When accessing the Program on a Sony PlayStation® product, purchase and use of items are subject
                              to Sony’s Network T
                                                Terms of Service and User Agreement. This online service has been sublicensed to you by Sony
                              Interactive Entertainment America.


                              For SIEE users: When accessing the Program on a Sony PlayStation® product, any content purchased in an in-game
                              store will be purchased from Sony Interactive Entertainment Network Europe Limited (“SIENE”) and be subject to
                              PlayStation™Network Terms
                                                  T     of Service and User Agreement which is available on the PlayStation®Store. Please check
                              usage rights for each purchase as these may differ
                                                                            f from item to item. Unless otherwise shown, content available in any
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                                DESTINY 2       SEASONS        COMMUNITY         HELP     STORE                 PLAY DESTINY 2             MY ACCOUNT
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                              the Program (collectively, “Online Services”) or Live Content will be available at all times or at any given time or that
                              Bungie will continue to offer
                                                       f Online Services or Live Content for any particular length of time. Bungie may change and
                              update Online Services or Live Content without notice to you. Bungie makes no warranty or representation regarding the
                              availability of Online Services and reserves the right to modify or discontinue Online Services in its sole discretion
                              without notice, including for example, ceasing an Online Service for economic reasons due to a limited number of users
                              continuing to make use of the Online Service over time. NOTWITHSTANDING
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                              ACKNOWLEDGE AND AGREE THAT
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                              BUNGIE’S SOLE DISCRETION WITHOUT NOTICE TO YOU. IN CONNECTION WITH ONLINE SERVICES’
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                                     Y AND ANY AND ALL LIVE CONTENT LICENSED TO YOU MAY
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                              CONTENT OR OTHERWISE.


                              For residents outside North America: Subject to the next sentence, Bungie does not guarantee that any Online Services
                              or Live Content will be available or error-free at all times or at any given time. Bungie warrants that the Program, in
                              addition to any Live Content which has been paid-for with real money, will substantially comply with the description
                              provided by it at the point of purchase and be of satisfactory quality (in addition any related services provided through
                              them will be provided with reasonable care and skill). Bungie may change and update Online Services or Live Content
                              without notice to you (provided always that any such changes do not result in material degradation in the functionality of
                              the Program or any Live Content which has been paid-for with real money). Bungie makes no warranty or representation
                              regarding the availability of Online Services and/or Live Content which are free (i.e. not paid-for with real money) and
                              each reserve the right to modify or discontinue them in its sole discretion without notice to you, including for example, for
                              economic reasons due to a limited number of users continuing to make use of them over time. Bungie is not liable or
                              responsible for any failure to perform, or delay in performance of, any of its obligations that is caused by events outside
                              its reasonable control. If such circumstances result in material degradation in the functionality of the Program or Live
                              Content then your obligation to make any payment to download, use or access them will be suspended for the duration
                              of such period. Bungie is entitled to modify or discontinue Online Services and/or Live Content which are paid-for with
                              real money in its sole discretion upon reasonable notice to you. The warranty for such Online Services and/or Live
                              Content is provided in accordance with your statutory rights as a consumer which will always prevail.
                              For residents in North America-- BINDING ARBITRATION
                                                                             A     AND CLASS ACTION WAIVER:


                              READ THIS SECTION CAREFULLY
                                                       LY. IT MAY
                                                               A SIGNIFICANTL
                                                                            LY AFFECT YOUR LEGAL RIGHTS, INCLUDING YOUR
                              RIGHT TO FILE A LAWSUIT
                                               A      IN COURT.


                              These BINDING ARBITRATION
                                                  A     AND CLASS ACTION WAIVER provisions apply to you if you are domiciled in and/or
                              acquired and use the Program in the United States. These provisions may also apply to you if you are domiciled in
                              and/or acquired and use the Program from outside the United States. See JURISDICTION AND APPLICABLE LAW
                                                                                                                                   A
                              below for details.


                              Either party may initiate binding arbitration as the sole means to formally resolve claims, subject to the terms set forth
                              below. Specifically, all claims arising out of or relating to this Agreement (including its interpretation, formation,
                              performance and breach), the parties' relationship with each other and/or your use of the Program shall be finally settled
                              by binding arbitration administered by JAMS in accordance with the provisions of its Comprehensive Arbitration Rules or
                              Streamlined Arbitrations Rules, as appropriate, excluding any rules or procedures governing or permitting class actions.
                              This arbitration provision is made pursuant to a transaction involving interstate commerce, and the Federal Arbitration
                              Act (the "FAA")
                                        F     shall apply to the interpretation, applicability, enforceability and formation of this Agreement
                              notwithstanding any other choice of law provision contained in this Agreement. The arbitrator, and not any federal,
                              state, or local court or agency, shall have exclusive authority to resolve all disputes arising out of or relating to the
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                                DESTINY 2       SEASONS        COMMUNITY         HELP     STORE                 PLAY DESTINY 2             MY ACCOUNT
                                                                                                                                                               

                              The JAMS Rules governing the arbitration may be accessed at http://www.jamsadr.com/ or by calling JAMS at (800)
                              352-5267. Y
                                        Your arbitration fees and your share of arbitrator compensation shall be governed by the JAMS
                              Comprehensive Arbitration Rules and, to the extent applicable, the Consumer Minimum Standards, including the then-
                              current limit on arbitration filing fees. To
                                                                        T the extent the filing fee for the arbitration exceeds the cost of filing a lawsuit,
                              Bungie will pay the additional cost. The parties understand that, absent this mandatory provision, they would have the
                              right to sue in court and have a jury trial. They further understand that, in some instances, the costs of arbitration could
                              exceed the costs of litigation and the right to discovery may be more limited in arbitration than in court.


                              Location: If you are a resident of the United States, arbitration will take place at any reasonable location within the
                              United States convenient for you. For residents outside the United States, arbitration shall be initiated in King County,
                              Washington, and you agree to submit to the personal jurisdiction of any federal or state court in King County,
                              Washington, in order to compel arbitration, to stay proceedings pending arbitration, or to confirm, modify, vacate, or
                              enter judgment on the award entered by the arbitrator.


                              Class Action Waiver: The parties further agree that any arbitration shall be conducted in their individual capacities only
                              and not as a class action or other representative action, and the parties expressly waive their right to file a class action
                              or seek relief on a class basis. YOU, ON THE ONE HAND, AND BUNGIE, ON THE OTHER HAND, AGREE THAT
                                                                                                                            A
                              EACH MAY
                                    A BRING CLAIMS AGAINST THE OTHER ONL
                                                                       LY IN YOUR OR THEIR INDIVIDUAL CAP
                                                                                                        PACITY
                                                                                                             Y, AND NOT
                              AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS OR REPRESENTA
                                                                                               TATIVE PROCEEDING. If any
                              court or arbitrator determines that the class action waiver set forth in this paragraph is void or unenforceable for any
                              reason or that an arbitration can proceed on a class basis, then the arbitration provision set forth above shall be deemed
                              null and void in its entirety and the parties shall be deemed to have not agreed to arbitrate disputes.


                              Exception - Litigation of Intellectual Property and Small Claims Court Claims: Notwithstanding the parties' decision to
                              resolve all disputes through arbitration, either party may bring an action in state or federal court that only asserts claims
                              for patent infringement or invalidity, copyright infringement, moral rights violations, trademark infringement, and/or trade
                              secret misappropriation, but not, for clarity, claims related to the license granted to you for the Program under this
                              Agreement. Either party may also seek relief in a small claims court for disputes or claims within the scope of that court's
                              jurisdiction.


                              30 Day Right to Opt Out: Y
                                                       You have the right to opt-out and not be bound by the arbitration and class action waiver
                              provisions set forth in the "Binding Arbitration," "Location," and "Class Action Waiver" paragraphs above by sending
                              written notice of your decision to opt-out to the following address: Bungie, Inc., 550 106th A
                                                                                                                           Ave NE #207, Bellevue,
                              Washington 98004, Attn: Legal. The notice must be sent within 30 days of purchasing the Program (or if no purchase
                              was made, then within 30 days of the date on which you first access or use the Program and agree to these terms);
                              otherwise you shall be bound to arbitrate disputes in accordance with the terms of those paragraphs. If you opt-out of
                              these arbitration provisions, Bungie also will not be bound by them.


                              Changes to this Section: Bungie will provide 60-days’ notice of any changes to these sections regarding “BINDING
                              ARBITRATION”
                                    A      and “CLASS ACTION WAIVER.” Changes will become efffective on the 60th day and will apply
                              prospectively only to any claims arising after the 60th day.


                              MISCELLANEOUS: This Agreement is the complete agreement concerning this license between the parties and
                              supersedes all prior agreements and representations between them. If any provision of this Agreement is held to be
                              unenforceable for any reason, such provision shall be reformed only to the extent necessary to make it enforceable and
                              the remaining provisions of this Agreement shall not be affected.
                                                                                       f        To the extent permitted by applicable law: (i) this
                              Agreement shall be construed under Washington law as such law is applied to agreements between Washington
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                                DESTINY 2           SEASONS     COMMUNITY            HELP      STORE            PLAY DESTINY 2              MY ACCOUNT
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       Destiny 2                  Companion                   Help                          Bungie                Store                     Bungie Foundation
       News                       Sign Up/Sign In             Guides                        Careers               What's New                iPads for Kids
       Get Destiny 2              Season Progress             FAQ                           Bungie Newsroom       Merchandise               News & Events
       Expansions                 Triumphs                    Terms of Use                  Tech Blog             Soundtracks               Donate
       Seasons                    Cross Save                  Privacy Policy                Press Kit             Community Artist Series
       Community                  PC Move                     Payment Services Act                                Bungie Rewards
       Find Fireteam              Rewards                     Do Not Sell My Personal                             Last Chance
       Developer Portal           Redeem Codes                Information



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